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February 26, 2025



BY ECF

The Honorable Edgardo Ramos
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007


Re:     SEC v. Sun, et al., Case No. 1:23-cv-02433-ER (S.D.N.Y.)


Dear Judge Ramos:

Plaintiff Securities and Exchange Commission and Defendants Justin Sun, Tron Foundation
Limited, BitTorrent Foundation Ltd., and Rainberry, Inc. (collectively, the “Parties”) jointly
move to stay this case to allow the Parties to explore a potential resolution.

A district court has “broad discretion to stay proceedings as an incident to its power to control its
docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). A district court deciding a motion to stay
should consider the interests of each party, the interests of the courts, the interests of non-parties,
and the public interest. Kappel v. Comfort, 914 F. Supp. 1056, 1058 (S.D.N.Y. 1996) (citation
omitted).

In this case, the Parties submit that it is in each of their interests to stay this matter while they
consider a potential resolution and agree that no party or non-party would be prejudiced by a
stay. Further, a stay is in the Court’s and the public’s interest because a resolution would
conserve judicial resources by obviating the need for the Court to resolve the Defendants’
pending motion to dismiss the complaint (see ECF 61). A proposed stay interferes with no
current Court-issued deadlines.
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Accordingly, the Parties respectfully request that this Court grant this joint request for a stay.
The Parties propose that they will submit a joint status report within 60 days after entry of the
stay.



Respectfully submitted,


 /s/ Adam B. Gottlieb                         /s/ Jennifer Bretan
 Adam B. Gottlieb                             Jennifer Bretan

 Counsel for Plaintiff                        Fenwick & West LLP
 Securities and Exchange Commission           Counsel for Defendants Justin Sun,
                                              Tron Foundation Limited,
                                              BitTorrent Foundation Ltd., and
                                              Rainberry, Inc
